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                      IN THE UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

In re: Robert Kevin Finney and Lisa M Finney                             Case No.: 4:18-bk-12138
Debtors                                                                                Chapter 13

                             APPLICATION TO EMPLOY REALTOR

   COMES NOW the debtors, Robert Kevin Finney and Lisa M Finney ("Debtors"), by and
through their attorney, Matthew D. Mentgen, and for their Motion to Employ Real Estate Agent
state as follows:

   1. Debtors filed a Motion to Sell Real Property on April 25, 2022.
   2. To accomplish this sale, it will be necessary for Debtors to employ a licensed real estate
        agent.
   3.   That, Debtors desire to employ Josh Davis with Vylla Home. The real estate commission
        fee will be: 4.0%.

   WHEREFORE, Debtors, Robert Kevin Finney and Lisa M Finney, pray that this Application
to Employ be granted and for all other just and proper relief to which they may be entitled.



                                                            Respectfully submitted, /

                                                            s/ Matthew D Mentgen
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